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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division

JOHN DOE,
       Plaintiff
v.                                                           Civil Case No.
NORFOLK STATE UNIVERSITY,

BOARD OF VISITORS OF
NORFOLK STATE UNIVERSITY,                                    JURY TRIAL DEMANDED

and

FICTITIOUS PERSONS A-Z.,
       Defendants.



                                          COMPLAINT

       COMES NOW Plaintiff John Doe (“Plaintiff” or “Doe”), by counsel, and moves this

Honorable Court for Judgment against the Defendants Norfolk State University; Board of Visitors

of Norfolk State University; and Fictitious Persons A-Z; and in support of his complaint, states as

follows, to-wit:

I.     INTRODUCTION

       1.      This suit is being brought pursuant to Title IX of the Education Amendments of

1972 (i.e., 20 U.S.C. §§ 1681, et seq.) (“Title IX”).

       2.      Beginning in January of 2021, Coach Latrell Scott, previous head coach of the

NSU football team, began actively recruiting John Doe to attend Norfolk State University.

Plaintiff reported to practice in June of 2021.

       3.          Plaintiff was befriended by members of the Norfolk State University football

team, including S.M., who was an upperclassman. S.M. induced Plaintiff into a friendship by

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offering him use of his car and inviting him to meals and parties with other football players.

Shortly thereafter, the hazing began. The hazing which began with crotch grabbing and voyeurism

led to an attempted rape.

       4.      The Norfolk State University football coaches had actual knowledge of the hazing

activities occurring on the football team and the behavior was ignored; as one coach put it, “They

were teammates,” and “They were doing it to each other.”

       5.      At one point a coach had warned S.M. that “someday you’re going to play with

the wrong person and it’s going to catch up with you.” Norfolk State University coaches knew of

this hazing and allowed the creation of a culture that enabled sexual assault and hazing of younger

football players to include retaliation. Before Coach Scott left Norfolk State University in March

of 2021, Coach Scott had warned Norfolk State University football players that if they were gay

that was fine, but not to do that “stuff” at practices. The current coaching staff also knew of this

culture of sexual assault and hazing among the football team but did not take reasonable actions

to prevent these events.

       6.       On August 15, 2021, Plaintiff invited S.M. and others to his apartment to watch a

movie. Towards the end of the night S.M. threatened to break the glass door of Plaintiff’s bedroom

and to destroy items in Plaintiff’s bedroom. These threats were made by S.M. to lure Plaintiff into

his bedroom. When Plaintiff entered his bedroom, S.M. turned off the light, closed the door, and

pushed Plaintiff face down on his bed, straddling Plaintiff from behind while holding him down

against his will until it was stopped by another person.

       7.      A little more than a month prior to the attempted rape of the Plaintiff, the coaching

staff and Norfolk State University were made aware of another freshman Norfolk State University

football player being sexually assaulted by an upperclassman Norfolk State University football


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player. 1 Norfolk State University had created a culture – spanning two coaching staffs – that

enabled sexual assault and hazing of younger football players. The university did nothing to protect

the Plaintiff even though it could have reasonably taken steps to prevent these events from

happening.

           8.       Plaintiff was retaliated against by other members of the football team when Norfolk

State University finally acted.

II.        JURISDICTION

           9.       This Court has federal question jurisdiction under 28 U.S.C. § 1331 and civil rights

jurisdiction under 28 U.S.C. § 1343.

           10.      Plaintiff has delivered notice regarding his state law claims against the university

pursuant to the Virginia Tort Claims Act (“VTCA”), Code of Virginia § 8.01-195.1, et seq.

However, neither the six-month waiting period for the Commonwealth to review these state law

claims has elapsed, nor has the Plaintiff received any notice of his state law claims being denied.

Therefore, Plaintiff is presently unable to pursue these state law claims pursuant to the VTCA as

they are not ripe for adjudication. However, Plaintiff intends to seek leave of the Court to amend

this Complaint if he receives a denial of his claim or when the six-month period elapses. If and

when either event occurs, this Court will have supplemental jurisdiction over these state law tort

claims under 28 U.S.C. § 1367.

           11.      All relief available under the foregoing statutes is sought herein by the Plaintiff.

           12.      Personal jurisdiction exists over the Defendants as each Defendant has had

sufficient minimum contacts with Virginia and this district because of residence within Virginia.




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    See Fahey v. Norfolk State University and Board of Visitors of Norfolk State University filed June 1, 2022.

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Alternatively, personal jurisdiction exists because all claims alleged in this complaint arise from

actions occurring in Virginia and in this district.

III.   VENUE

       13.     Venue is proper pursuant to 28 U.S.C. § 1391(b), because a substantial part of the

acts and omissions giving rise to Plaintiff’s claims occurred in this district.

       14.     Assignment to the Norfolk Division of the Eastern District of Virginia is proper

pursuant to Eastern District of Virginia Local Rules 3(B)(3) and 3(C) because a substantial part of

the acts and omissions giving rise to Plaintiff’s claims occurred in this division.

IV.    PARTIES

       15.     Plaintiff John Doe is of full age and majority and is a resident of the Commonwealth

of Virginia. At all relevant times, Plaintiff was a student attending Norfolk State University and a

player on the university’s football team.

       16.     Defendant Norfolk State University is a public university formed under the laws of

the Commonwealth of Virginia. It is governed by Defendant Board of Visitors of Norfolk State

University, which approves all Title IX policies and procedures for the university. (Collectively,

these Defendants shall be referred to as “NSU.”)

       17.     Fictitious Persons A-Z are those persons, firms, corporations, or other entities who

are in any way responsible to the Plaintiff for the damages he has sustained and whose identities

are at this time unknown but will be added by appropriate amendments when ascertained.

V.     FACTS

       18.     NSU is a public university located in Norfolk, Virginia, founded in 1935.




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        19.     NSU’s football team, the Norfolk State Spartans, participates in NCAA Division 1

as part of the Mid-Eastern Athletic Conference.

        20.     Upon information and belief, NSU’s current and past football coaches witnessed

NSU football players grabbing the crotches of other players but failed to report this behavior to

the Title IX Coordinator. Over the years, this behavior has become normalized among the team

and has been referred to by another coach as being “playful.” This coach further stated, “We just

never took [it] seriously.”

        21.     Based on information reported by a witness, the prior head coach, Latrell Scott,

knew of the hazing and sexual harassment that was taking place at NSU. According to this witness,

Coach Scott repeatedly told the NSU football players not to engage in this type of sexual

harassment behavior. Nevertheless, these requests – not being followed up with stern discipline

or the requisite Title IX investigations – fell on deaf ears.

        22.     Incoming freshman players would learn that upperclassmen would perpetrate acts

of hazing in the form of fondling, groping, and voyeurism. If an NSU football player was ever

told to “size up,” it was understood that he was to drop his pants and expose his penis to the other

player, whereupon the two players would compare penis sizes. Plaintiff was also aware of

FaceTime video calls with at least one NSU upperclassmen football player exposing his genitalia

to other NSU football players. One video recording shows an NSU football player holding down

a freshman NSU football player and “dry humping” him from behind while others looked on and

laughed.

        23.     NSU had notice of these “grooming” behaviors, which included several

upperclassmen football players repeatedly groping, grabbing, and making video calls with their




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genitalia exposed to younger players on the team. However, NSU swept these allegations under

the proverbial rug.

        24.    Oblivious to these concerns, Plaintiff made the decision to attend NSU and play

football. Plaintiff passed on other opportunities to play football at other schools.

        25.    In July 2021, S.M., an upperclassman football player at NSU, befriended Plaintiff

and made assurances to Plaintiff and to Plaintiff’s family that he would “look after” and “protect”

Plaintiff.

        26.    On various occasions in August 2021, S.M. grabbed Plaintiff’s crotch multiple

times both on and off the football field. Plaintiff repeatedly told him to stop. During this same

period, S.M. would video call Plaintiff while exposing his penis on the FaceTime video calls.

        27.    Upon information and belief, NSU football staff were aware that S.M. would video

call NSU football players while exposing his penis on FaceTime video calls.

        28.    Upon information and belief, NSU football coaches knew of the sexual harassment

and sexual assault that S.M. and other NSU football players would practice, but NSU football

coaches looked the other way since S.M. was one of the better players.

        29.    Defendant NSU had knowledge of S.M.’s violent tendencies as he was removed

from on-campus housing for destroying the door to his dormitory room.

        30.    On or about August 15, 2021, S.M. visited Plaintiff’s apartment. S.M. threatened

to break items in Plaintiff’s room and made his way back to Plaintiff’s bedroom to carry out this

threat. Plaintiff immediately followed S.M. as S.M. has been known to punch holes in walls and

had previously been removed from on-campus housing due to destruction of the premises. Plaintiff

entered his bedroom and S.M. turned off the light, shut the door, forcefully pinned Plaintiff face-

down on the bed and attempted to rape Plaintiff. Being pinned to the bed and unable to move,


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Plaintiff began to scream and thrash to get S.M. off him. Plaintiff could feel S.M.’s erect penis

between his intergluteal cleft. Only after another individual had come into the room did S.M. get

off the Plaintiff and run out the home.

        31.     On or about August 16, 2021, before football practice S.M. approached Plaintiff in

the locker room and tried to shake hands. Plaintiff confronted S.M. by stating, “You know what

you did to me.” S.M. responded to Plaintiff, “Oh, you mean when I punished your s--ts?” 2 Plaintiff

immediately left the locker room with S.M. following him to the practice field. Once on the

practice field, S.M. approached Plaintiff with outstretched arms to hug Plaintiff, Defendant then

reached down and grabbed Plaintiff’s genitalia with teammates and coaches observing.

        32.     When Plaintiff reported the sexual assaults to Head Coach Dawson Odums, the

latter, in turn, reported the incident to the Title IX coordinator, James Robinson. Neither Coach

Odums nor Mr. Robinson reported the incident to the NSU Police Department as required by the

NSU’s policies, even though they both were Campus Security Authorities (CSA).

        33.     On August 19, 2021, a meeting was conducted between Coach Odums and Mr.

Robinson with the Plaintiff. At this meeting, Plaintiff stated he was filing a complaint and wanted

the assault to be investigated by NSU. During this meeting Plaintiff was offered to be moved to

on-campus housing with security posted outside of his dormitory room. No other interim measures

were offered to Plaintiff during this meeting. Plaintiff was fearful to be alone with NSU football

players and had to repeatedly request to stay in a hotel room alone when the NSU football team

traveled to away games to receive this supportive measure.

        34.     Beginning on or about August 19, 2021, Plaintiff was retaliated against by members

of the NSU football team. Plaintiff was repeatedly called a “snitch” and told “no one likes you.”


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  Explained by Plaintiff and NSU football player to mean a derogatory sexual term to mean having sex very
aggressively from behind.

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Plaintiff was told to apologize to S.M. for ruining Defendant’s chance to play football his final

year of eligibility.

        35.     On or about August 20, 2021, Plaintiff’s parents met with Coach Odums and Mr.

Robinson regarding the safety and psychological health of Plaintiff. During this meeting Coach

Odums stated “leave it to me to get rid of the other bad seeds” and implied he was going through

a list of people to “let go.” Coach Odums told Plaintiff and his parents that he had inherited this

problem.

        36.     NSU was aware of retaliation taking place against Plaintiff. On September 1, 2021,

Mr. Robinson sent an email to Defendant Odums indicating that two coaches went to visit S.M.

“to see how he was doing.” The email also acknowledges other NSU football players telling

Plaintiff he needs to apologize to S.M. and acknowledges that Plaintiff may not be “safe on this

week’s road trip based on the gang of S.M. supporters.” See Exhibit 1.

        37.     On or about September 13, 2021, two pairs of Plaintiff’s Nike cleats were stolen

from his locker.

        38.     On October 1, 2021, Mr. Robinson sent a memo to NSU officials for review, which

dismissed the Title IX complaints filed against S.M. This notice was not sent to Plaintiff until

November 9, 2021.

        39.     On October 1, 2021, Mr. Robinson sends an email update to other NSU employees

acknowledging that the Title IX regulations do not require a signed complaint to move forward

with the investigation. See Exhibit 2.

        40.     On October 2, 2021, Plaintiff left the NSU football team because the hazing and

retaliation were intolerable.




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        41.       On October 11, 2021, almost two months after the sexual assault, Mr. Robinson

sent an email to an outside investigator inquiring on the cost of Title IX investigative services. See

Exhibit 3.

        42.       On October 13, 2021, an interim measures request was sent on behalf of Plaintiff.

This request was ignored by Mr. Robinson.

        43.       On November 9, 2021, Plaintiff received Notice of Dismissal indicating that the

August 15, 2021, assault and the August 16, 2021, assault would be investigated as a student

conduct matter rather than a Title IX investigation.

        44.       On November 11, 2021, Plaintiff sent an email to Mr. Robinson inquiring into

dismissal of the August 16, 2021, Title IX complaint as that assault had occurred on campus.

        45.       On November 22, 2021, over three months after the sexual assaults on campus,

Plaintiff was interviewed regarding the August 15, 2021, attempted rape.

        46.       On November 29, 2021, after Plaintiff was interviewed by an external investigator,

Mr. Robinson sent an email indicating that the August 16, 2021, assault would be investigated

under Title IX.

VI.     CAUSE OF ACTION

      VIOLATION OF TITLE IX OF THE EDUCATION AMENDMENTS OF 1972: HOSTILE
             EDUCATION ENVIRONMENT AND DELIBERATE INDIFFERENCE

        47.       Plaintiff re-alleges and incorporates by reference the allegations set forth in the

entirety of this Complaint as if fully set forth herein.

        48.       NSU is responsible for the acts and omissions of an employee when the employee

is acting within the scope of their employment and on behalf of their employer. At all times




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relevant, NSU employees named in this complaint were acting in the course and scope of their

authority at NSU and on behalf of NSU. Thus, NSU is responsible for their acts or omissions.

       49.     At all relevant times, NSU was receiving federal funding as contemplated by Title

IX. Therefore, Title IX abrogates NSU’s Eleventh Amendment sovereign immunity. See Franklin

v. Gwinnett County Public Schools, 503 U.S. 60, 71-73 (1992); see also Gebser v. Lago Vista

Independent School Dist., 524 U.S. 274, 287-90 (1998).

       50.     Title IX states that “[n]o person in the United States shall, on the basis of sex, be

excluded from participation in, be denied the benefit of, or be subjected to discrimination under

any education program or activity receiving Federal financial assistance.”

       51.     According to the U.S. Department of Education’s 2020 published rule on Title IX,

all schools receiving federal financial assistance must respond to

       … allegations of sexual harassment consistent with Title IX’s prohibition against sex
       discrimination. These regulations are intended to effectuate Title IX’s prohibition against
       sex discrimination by requiring recipients to address sexual harassment as a form of sex
       discrimination in education programs or activities. The final regulations obligate recipients
       to respond promptly and supportively to persons alleged to be victimized by sexual
       harassment, resolve allegations of sexual harassment promptly and accurately under a
       predictable, fair grievance process that provides due process protections to alleged victims
       and alleged perpetrators of sexual harassment, and effectively implement remedies for
       victims.

85 FR 30026 (effective August 14, 2020).

       52.     Under the Title IX final rule issued by the U.S. Department of Education, a school

is deliberately indifferent if the response is not reasonable in light of the known circumstances.

To this end, a school’s Title IX Coordinator is required to promptly contact the complainant,

provide supportive measures, and explain the process of filing a formal complaint.

       53.     NSU Title IX policy states, “Every NSU employee who is informed about an

allegation of sexual misconduct involving any student, staff, or faculty member, is required to


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notify the Title IX Coordinator, or his or her designee either directly or through an appropriate

reporting mechanism such as email or by phone.”

          54.   NSU’s Title IX policy also states, “[C]ertain NSU employees, called ‘Responsible

Employees’ are required to report to the Title IX Coordinator all information disclosed to them

about an incident of Prohibited Conduct.” At all material times, Head Coaches Scott and Odums

and their assistant coaches were “Responsible Employees” under the NSU Title IX policy.

          55.   NSU has a policy to address hazing that is provided to the students at the beginning

of the spring and fall semesters. The policy is also published in the student handbook and

distributed to the University community. The policy defines hazing as “any action or situation,

whether on or off University premises, that is harmful or potentially harmful to an individual’s

physical, emotional, academic or psychological well-being, regardless of an individual’s

willingness to participate or its bearing on his/her membership status.” The NSU hazing policy

requires all University employees and students to report all “real and suspected acts of hazing to

the NSU Police Department” and prohibits retaliation for reporting. In addition, the REACH Act

requires institutions of higher education (IHEs) that participate in federal student-aid programs to

report hazing incidents and implement hazing education programs. Specifically, the Act requires

each IHE to disclose hazing incidents that were reported to campus officials in its annual security

report.

          56.   NSU is responsible for ensuring all responsible employees and athletic department

staff are properly trained in Title IX and are supervised in performing their jobs (see 34 C.F.R. §

106.45 (b)(1)(iii)). Coach Odums and Coach Torrey had not completed Title IX training between

June 1, 2021, and November 1, 2021. Coach Odums completed the training for campus security




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authorities (CSA) on November 1, 2021, well after the start of the football season and well after

these sexual assaults had taken place.

        57.     The Title IX regulations require:

        … reasonably prompt time frames for conclusion of the grievance process, including
        reasonably prompt time frames for filing and resolving appeals and informal resolution
        processes if the recipient offers informal resolution processes, and a process that allows for
        the temporary delay of the grievance process or the limited extension of time frames for
        good cause with written notice to the complainant and the respondent of the delay or
        extension and the reasons for the action.

34 C.F.R. § 106.45(b)(1)(v). Furthermore, at postsecondary institutions,

        … the recipient's grievance process must provide for a live hearing. At the live hearing,
        the decision-maker(s) must permit each party's advisor to ask the other party and any
        witnesses all relevant questions and follow-up questions, including those challenging
        credibility. Such cross-examination at the live hearing must be conducted directly, orally,
        and in real time by the party's advisor of choice and never by a party personally….

34 C.F.R. § 106.45(b)(6)(ii).

        58.     NSU had actual notice of the sexual assault and retaliation against the Plaintiff.

However, NSU did not follow the proper procedures in reporting or providing interim measures

for the Plaintiff.

        59.     NSU’s investigation and response to the Plaintiff’s sexual assault complaints were

insufficient. NSU’s response did not comply with basic due process requirements or accepted Title

IX response requirements as outlined in guidance from the U.S. Department of Education, Office

for Civil Rights.

        60.     NSU failed to follow its own policies in responding to or investigating complaints

of sexual assault, which include specific deadlines on providing notification to the parties involved,

time frames of the investigation, details on how interviews will be conducted, and the final reports

and recommended findings to be provided to the parties in the investigation. This created a hostile




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educational environment for the Plaintiff, thereby necessitating his withdrawal from the NSU

football team and from the university, itself, for his own well-being.

       61.     Had NSU provided meaningful follow-up to his complaint and notified him of the

same in a timely manner, Plaintiff would not have left school.

       62.     NSU had an obligation to address Plaintiff’s report of sexual assault against S.M.

and remedy any resulting hostile environment created for Plaintiff on campus because of the sexual

assault, such as retaliation from other teammates, as it constituted severe and objectively offensive

sexual harassment, which is a form of prohibited sex-based discrimination under Title IX. NSU

also had an obligation to address Plaintiff’s report of sexual assault against S.M. because that

sexual assault was part of a pervasive pattern of sexual harassment that NSU had actual knowledge

was occurring routinely by the football team.

       63.     At all material times, NSU exercised substantial control over S.M. because he was

an NSU football player who could have been removed from the team for prior rule infractions.

       64.     After receiving actual notice of the on-campus sexual assault, NSU had an

obligation to provide Plaintiff with prompt and equitable interim remedies to ensure his ongoing

access to a safe campus free from a hostile environment. NSU also had an obligation to ensure his

continued access to education programs and activities through the provision of reasonable

academic, housing, and other available accommodations.

       65.     Despite its obligations to Plaintiff, NSU showed deliberate indifference to the

sexual assault of Plaintiff by failing to provide him with prompt and equitable interim remedies

and safety measures. Plaintiff understood that other players, mindful of what had transpired, would

continue to ridicule him for even reporting S.M., thereby creating a hostile environment. Thus, by




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its actions and omissions, NSU effectively denied and/or limited Plaintiff’s ability to participate in

or to receive benefits, services, or opportunities from NSU’s educational programs or activities.

           66.     NSU failed to take Plaintiff’s complaint of sexual assault seriously. NSU’s actions

and inactions created and/or contributed to the ongoing hostile educational environment that

Plaintiff suffered and others have continued to suffer.

           67.     The university had actual knowledge of sex discrimination including sexual

harassment and sexual assault occurring by members of the NSU football team and acted with

deliberate indifference towards the rights of Plaintiff to a safe education environment. NSU had

actual knowledge as evidenced by the passing of this problem from one Head Coach to another

Head Coach. NSU had actual knowledge as evidenced by the freshman NSU football player who

reported a month earlier of sexual assault and hazing by upperclassman NSU football players. 3

This deliberate indifference impaired Plaintiff’s ability to participate in and benefit from

educational programs and activities at NSU.

           68.     NSU did not promptly conclude the investigation with a finding and did not take

proactive steps to prevent its recurrence or remedy its effects. NSU knew of the sexual harassment

and did not take appropriate steps to ensure Plaintiff could continue to benefit from the school’s

programs. If NSU had not been deliberately indifferent to the reported sexual assault and had not

taken self-serving action to protect its own interests, Plaintiff would have exercised his opportunity

to play football and pursued his education at NSU.

           69.     NSU had knowledge of this pervasive culture of sexual harassment on the football

team and acted with utter disregard in investigating and preventing further harassment to the

Plaintiff. The Defendants’ acts, omissions, policies, and customs resulted in sexual harassment



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    See Fahey, supra.

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that was so severe and pervasive it denied Plaintiff the right to participate as both a student and an

athlete at NSU. Thus, Plaintiff was denied equal educational opportunities in violation of Title IX

of the Education Amendments of 1972 (“Title IX”), 20 U.S.C. § 1681(a).

       70.     Plaintiff suffered financial loss from being denied equal educational opportunities

in violation of Title IX of the Education Amendments of 1972 (“Title IX”), 20 U.S.C. § 1681(a).

Plaintiff suffered the loss of his scholarship to NSU, loss of room and board, loss of educational

opportunity, loss of future income, and loss of income as derived from his name, image, and

likeness as allowed by the NCAA.

       71.     As a result of NSU’s deliberate indifference and hostile education environment

Plaintiff was forced to withdraw from NSU and the football team and has suffered pecuniary and

non-pecuniary damages in the amounts to be adduced at trial.

                                   JURY TRIAL DEMANDED

       Plaintiff demands that all issues of fact of this case be tried to a properly impaneled jury to

the extent permitted under the law.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff seeks a judgment against Defendants as follows:

       (a)     That the Court declare that Defendant’s actions, policies, and practices complained

of herein violated Plaintiff’s rights under Title IX of the Education Amendments of 1972;

       (b)     Injunctive relief requiring NSU to redress its violations of Title IX, including (1)

instituting, with the assistance of outside experts, and enforcing a comprehensive sexual

harassment and hazing policy, including procedures for effective reporting of sexual harassment

and hazing incidents, an effective and immediate crisis response, and an expended victim

assistance and protection program; (2) adopting a “zero tolerance policy” under which there will

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be expedited proceedings and punishment proportional to the offense for violation of sexual

harassment and hazing policies; and (3) providing for an annual, independent review by the Office

of the President, with the participation of outside reviewers, of Athletic Department compliance

with the sexual harassment and sexual hazing policies;

       (c)    An award of damages against NSU in an amount to be established at trial, including,

without limitation, payment of Plaintiff’s scholarship and tuition to NSU to include room and

board; payment of Plaintiff’s expenses incurred as a consequence of the sexual assaults; damages

for deprivation of equal access to the educational benefits and opportunities provided by NSU;

damages for loss of future income; damages for loss of income as derived from Plaintiff’s name,

image, and likeness as allowed by the NCAA; and damages for past, present, and future emotional

and psychological harm where allowed by law;

       (d)    An award of pre- and post-judgment interest;

       (e)    An award of cost and attorney fees, pursuant to 42 U.S.C. § 1988(b); and

       (f)    Such other relief as is just and equitable.

                                                     Respectfully Submitted,


                                                     __________/s/___________________
                                                     Diane P. Toscano, Esq.
                                                     Virginia Bar No. 73478
                                                     TOSCANO LAW GROUP, P.C.
                                                     1244 Perimeter Parkway, Suite 443
                                                     Virginia Beach, Virginia 23454
                                                     Tel: (757) 821-7972
                                                     Fax: (757) 903-0186
                                                     Diane@toscanolawgroup.com
                                                     Attorney for Plaintiff John Doe




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